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                                                                    Minimum Mandatory NO
                                                                   Rule35/5K1.1 YES
                                                                   Appeal Waiver YES
                                                                   Asset Forfeiture NO


                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                           CR


                V.



 SILVERLY ANN MAY


                           SUMMARY OF PLEA AGREEMENT


DEFENSE COUNSEL:


Thomas M.Bell, Esq.

STATUTES CHARGED:


Count One - 18 U.S.C. § 371 - Conspiracy

COUNT PLEADING TO:


Count One - 18 U.S.C. § 371 - Conspiracy

MAXIMUM STATUTORY PENALTY;


Imprisonment for not more than 5 years;
Fine of not more than $250,000 pursuant to 18 U.S.C. § 3571;
Not more than 3 years supervised release, pursuant to 18 U.S.C. § 3583;
$100 special assessment.
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ELEMENTS OF THE OFFENSE:


    First:         two or more persons in some way agreed to try to accomplish a shared and
                   unlawful plan;
    Second:        the Defendant knew the unlawful purpose ofthe plan and willfully joined
                   in it;
    Third:         during the conspiracy, one ofthe conspirators knowingly engaged in at
                   least one overt act as described in the Information; and
    Fourth:        the overt act was committed at or about the time alleged and with the
                   purpose of carrying out or accomplishing some object ofthe conspiracy.
TERMS OF PLEA AGREEMENT:


    • Defendant waives indictment by the Grand Jury.

    • Defendant will plead guilty to Count One ofthe Information.

    • The government will not object to a recommendation by the U.S. Probation Office
      that Defendant receive an appropriate reduction in offense level for acceptance of
      responsibility pursuant to Section 3E1.I of the Sentencing Guidelines.

    • Defendant agrees to provide full, complete, candid, and truthful cooperation to the
      government. The government, in its sole discretion, will decide whether that
      cooperation qualifies as "substantial assistance" that warrants the filing of a motion
      for downward departure or reduction in sentence.

    • Defendant waives her right to appeal on any ground, with only three exceptions: she
      may appeal her sentence if(1)that sentence exceeds the statutory maximum,(2)that
      sentence exceeds the advisory Guidelines range determined by this Court at
      sentencing, or(3)the government appeals.

    • Defendant entirely waives her right to collaterally attack her conviction and sentence
      on any ground and by any method, including but not limited to a 28 U.S.C. § 2255
      motion. The only exception is that Defendant may collaterally attack her conviction
        and sentence based on a claim of ineffective assistance of counsel.


    • Defendant waives all rights to request information about the investigation and
      prosecution of her case under the Freedom of Information Act or the Privacy Act.

    • Defendant waives the protections of Rule 11(f) of the Federal Rules of Criminal
      Procedure and Rule 410 ofthe Federal Rules of Evidence. If she fails to plead guilty,
      or later withdraws her guilty plea, all statements made by her in connection with that
      plea, and any leads derived therefrom, shall be admissible for any and all purposes.
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                                                                      Minimum Mandatory NO
                                                                     Rule35/5KL1 YES
                                                                     Appeal Waiver YES
                                                                     Asset Forfeiture NO


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                            CR


                 V.



 SILVERLY ANN MAY


                                    PLEA AGREEMENT


       Defendant, represented by counsel, and the United States of America, represented by

Assistant United States Attorney Karl I. Knoche, have reached a plea agreement in this case. The

terms and conditions ofthat agreement are as follows.

1.     Guilty Flea


       Defendant agrees to enter a plea of guilty to Count One ofthe Information, which charges

a violation of 18 U.S.C. §371.

2.     Elements and Factual Basis


       The elements necessary to prove the offense charged in Count One are:

       First:         two or more persons in some way agreed to try to accomplish a shared and
                      unlawful plan;
       Second:        the Defendant knew the unlawful purpose ofthe plan and willfully joined
                      in it;
       Third:         during the conspiracy, one ofthe conspirators knowingly engaged in at
                      least one overt act as described in the Information; and
       Fourth:        the overt act was committed at or about the time alleged and with the
                      purpose of carrying out or accomplishing some object ofthe conspiracy.
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       Defendant agrees that she is, in fact, guilty ofthis offense, she agrees to the accuracy of

the following facts which satisfy each of the offense's required elements:

       1. That from on or about October 9, 2014, up to and including on or about June 13, 2017,

in Camden County, in the Southern District of Georgia, and elsewhere, the defendant,

SILVERLY ANN MAY,aided and abetted by others, did knowingly and willfully combine,

conspire, confederate and agree with other persons:

       a)to knowingly and intentionally distribute and dispense, and cause to be distributed and

dispensed, quantities of controlled substances, including oxycodone, hydromorphone, and

hydrocodone. Schedule II controlled substances, and alprazolam, a Schedule IV controlled

substance, not for a legitimate medical purpose and not in the usual course of professional

practice, contrary to Title 21, United States Code, Section 841(a)(1); and

       b)to knowingly and willfully engage in financial transactions conceming Coastline

Physical Medicine and Rehabilitation, Brunswick, Georgia, which transactions involved the

proceeds of specified unlawful activity, that is, the unlawful distribution and dispensation of

controlled substances, in violation of Title 21, United States Code, Section 841(a)(1), with the

intent to promote the carrying on of the aforesaid specified unlawful activity and to conceal or

disguise the nature, the location, the source, the ownership, or the control ofthe proceeds of

specified unlawful activity, contrary to Title 18, United States Code, Sections 1956(a)(l)(A)(i)

and 1956(a)(l)(B)(i).

       All done in violation of Title 18, United States Code, Section 371.

3.     Possible Sentence


       Defendant's guilty plea will subject her to the following maximum possible penalty:

Imprisonment for not more than 5 years; Fine of not more than $250,000 pursuant to 18 U.S.C. §
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3571; Not more than 3 years supervised release, pursuant to 18 U.S.C. § 3583; $100 special

assessment.


4.      No Promised Sentence


       No one has promised Defendant that the Court will impose any particular sentence or a

sentence within any particular range. The Court is not bound by any estimate of sentence given

or recommendations made by Defendant's counsel, the government, the U.S. Probation Office,

or anyone else. The Court may impose a sentence up to the statutory maximum. Defendant will

not be allowed to withdraw her plea of guilty if she receives a more severe sentence than she

expects.

5.      Courtis Use of Guidelines


       The Couit is obligated to use the United States Sentencing Guidelines to calculate the

applicable guideline range for Defendant's offense and to consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18 U.S.C. §

3553(a), in detemiining her sentence. The Sentencing Guidelines are advisory; the Court is not

required to impose a sentence within the range those Guidelines suggest. The Sentencing

Guidelines are based on all of Defendant's relevant conduct, pursuant to U.S.S.G. § IB 1.3, not

just the facts underlying the particular Count to which Defendant is pleading guilty.

6.      Agreements Regarding Sentencing Guidelines


        a.     Acceptance of Responsibility


       The government will not object to a recommendation by the U.S. Probation Office that

Defendant receive a two-level reduction in offense level for acceptance of responsibility pursuant

to Section 3E1.1(a) of the Sentencing Guidelines.
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        b.     Use of Information


       The government is free to provide full and accurate information to the Court and U.S.

Probation Office for use in calculating the applicable Sentencing Guidelines range. Any

incriminating information provided by the defendant during her cooperation will not be used in

determining the applicable Guidelines range, pursuant to U.S.S.G. § IB 1.8.

7.     Restitution


       The amount of restitution ordered by the Court shall include restitution for the full loss

caused by Defendant's total criminal conduct. Restitution is not limited to the specific counts to

which Defendant is pleading guilty. Any payment schedule imposed by the Court is without

prejudice to the United States to take all actions and remedies available to it to collect the full

amount ofthe restitution. Any restitution judgment is intended to and will survive Defendant,

notwithstanding the abatement of any underlying criminal conviction.

8.     Cooperation


       a.      Complete and Truthful Cooperation Required

       Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in her Indictment and any related offenses.

Defendant shall fully and truthfully disclose her knowledge ofthose offenses and shall fully and

truthfully answer any question put to her by law enforcement officers about those offenses.

       This agreement does not require Defendant to "make a case" against any particular

person, her benefits under this agreement are conditioned only on her cooperation and

truthfulness, not on the outcome of any trial, grand jury, or other proceeding.
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        b.     Motion for Reduction in Sentence Based on Cooperation


        The government, in its sole discretion, will decide whether Defendant's cooperation

qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed. R. Crim. P. 35 and

thereby warrants the filing of a motion for downward departure or reduction in Defendant's

sentence. If such a motion is filed, the Court, in its sole discretion, will decide whether, and to

what extent. Defendant's sentence should be reduced. The Court is not required to accept any

recommendation by the government that the Defendant's sentence be reduced.

9.      Waivers


       a.      Waiver OfIndictment


       The defendant understands that she has a right to have this matter submitted to a grand

jury for a probable cause determination and knowingly and voluntarily relinquishes this right.

       b.      Waiver of Appeal


       Defendant entirely waives her right to a direct appeal of her conviction and sentence on

any ground. The only exceptions are that the Defendant may file a direct appeal of her sentence

if(1)the court enters a sentence above the statutory maximum,(2)the court enters a sentence

above the advisory Sentencing Guidelines range found to apply by the court at sentencing; or(3)

the Government appeals the sentence. Absent those exceptions. Defendant explicitly and

irrevocably instructs her attorney not to file an appeal.

       c.      Waiver of Collateral Attack


       Defendant entirely waives her right to collaterally attack her conviction and sentence on

any ground and by any method, including but not limited to a 28 U.S.C. § 2255 motion. The only

exception is that Defendant may collaterally attack her conviction and sentence based on a claim

of ineffective assistance of counsel.
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        d.     FOIA and Privacy Act Waiver


        Defendant waives all rights, whether asserted directly or through a representative, to

request or receive from any department or agency of the United States any record pertaining to

the investigation or prosecution ofthis case under the authority of the Freedom of Information

Act,5 U.S.C. § 552, or the Privacy Act of 1974,5 U.S.C. § 552a, and all subsequent

amendments thereto.


        e.     Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver


        Rule 11(f) ofthe Federal Rules of Criminal Procedure and Rule 410 ofthe Federal Rules

of Evidence ordinarily limit the admissibility of statements made by a defendant during the

course of plea discussions or plea proceedings. Defendant knowingly and voluntarily waives the

protections ofthese rules. If Defendant fails to plead guilty, or her plea of guilty is later

withdrawn, all of Defendant's statements in connection with this plea, and any leads derived

therefrom, shall be admissible for any and all purposes.

10.     Other Representations


        Provided the defendant complies with all terms ofthis plea agreement and conditions of

pretrial release, the government agrees not to oppose bond or defendant's self-surrender to the

BOP.


11.     Required Financial Disclosure


        Not later than 30 days after the entry of her guilty plea. Defendant shall provide to the

United States, under penalty of perjury, a financial disclosure form listing all her assets and

financial interests, whether held directly or indirectly, solely or Jointly, in her name or in the

name of another. The United States is authorized to run credit reports on Defendant and to share

the contents ofthe reports with the Court and U.S. Probation.
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12.     Possible Immigration Effects


        Pleading guilty may have consequences with respect to immigration status if Defendant is

not a citizen of the United States. Under federal law, a broad range of crimes are removable

offenses. Removal and other immigration consequences are the subject of a separate proceeding.

No one, including Defendant's attorney or the district court, can predict to a certainty the effect

of her conviction on her immigration status. Defendant nevertheless agrees to plead guilty

regardless ofany immigration consequences, even if the consequence is her removal from the

United States.


13.     Defendant's Rights


        Defendant has the right to be represented by counsel, and if necessary have the court

appoint counsel, at trial and at every other critical stage ofthe proceeding. Defendant possesses a

number of rights which she will waive by pleading guilty, including: the right to plead not guilty,

or having already so pleaded, to persist in that plea; the right to a jury trial; and the right at trial

to confront and cross-examine adverse witnesses, to be protected from compelled self-

incrimination, to testily and present evidence, and to compel the attendance of witnesses.

14.     Satisfaction with Counsel


        Defendant has had the benefit of legal counsel in negotiating this agreement. Defendant

believes that her attorney has represented her faithfully, skillfully, and diligently, and she is

completely satisfied with the legal advice given and the work performed by her attomey.

15.     Breach of Plea Agreement


        If Defendant breaches the plea agreement, withdraws her guilty plea, or attempts to

withdraw her guilty plea, the govemment is released from any agreement herein regarding the

calculation of the advisory Sentencing Guidelines or the appropriate sentence. In addition, the
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government may (1) declare the plea agreement null and void,(2)reinstate any counts that may

have been dismissed pursuant to the plea agreement, and/or(3)file new charges against

Defendant that might otherwise be barred by this plea agreement. Defendant waives any statute-

of-limitations or speedy trial defense to prosecutions reinstated or commenced under this

paragraph.

16.         Entire Agreement


            This agreement contains the entire agreement between the government and Defendant.

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Date                                           Brian T.6«ff^y
                                               Chidf. Criminal Division



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Date                                            s^rftTKnoclie^
                                               Assistant United States Attorney
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        I have read and carefully reviewed this agreement with my attorney. I understand each

provision ofthis agreement, and I voluntarily agree to it. I hereby stipulate that the factual basis

set out therein is true and accurate in every respect




Date                                          Defendant



        I have fully explained to Defendant all of her rights, and 1 have carefully reviewed each

and every part of this agreement with him. I believe that she fully and completely understands it,

and that her decision to enter into this agreement is an informed, intelligent, and voluntary one.




                                              Defendant's Attomey
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                             CR


                 V.



 SILVERLY ANN MAY
                                              ORDER


       The aforesaid Plea Agreement, having been considered by the Court in conjunction with

the interrogation by the Court of the defendant and the defendant's attorney at a hearing on the

defendant's motion to change her plea and the Court finding that the plea of guilty is made freely,

voluntarily and knowingly, it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted and the

foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



               This S* day of-Si.


                                      JUC 3^N!TED STATES DISTRICT COURT
                                      SOUTOERN DISTRICT OF GEORGIA
